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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION
                                  www.flmb.uscourts.gov

In re:
                                                                                        Chapter 11
                                                                      Case No.: 3:18-bk-00800-JAF
GEA SEASIDE INVESTMENT INC.
d/b/a GEA SEASIDE INVESTMENTS INC.,

      Debtor.
_____________________________________/


                                     NOTICE OF HEARING

         NOTICE IS HERBY GIVEN that a hearing has been scheduled for September 13, 2018
at 1:30 p.m. at Bryan Simpson United States Courthouse, 300 North Hogan St., 4th Floor
Courtroom 4D, Jacksonville, FL 32202, to consider the following:


         Motion to Allow Late Filed Claim(s) as Timely Filed by Chase A. Berger on
         behalf of Creditor SN Servicing Corporation, as Servicing Agent for U.S. Bank
         Trust National Association, as Trustee of the PROP II PALS Investments
         Trust (Berger, Chase) (Entered: 08/06/2018)


                CERTIFICATE PURSUANT TO LOCAL RULE 9011-4(B)(1)

         I certify that I am admitted to the Bar of the United States District Court for the Southern

District of Florida and I am in compliance with the additional qualifications to practice in this court

as set forth in Local Rule 2090-1(A).


                                               By:     /s/ Chase A. Berger
                                                           Chase A. Berger, Esq.
           Case 3:18-bk-00800-JAF          Doc 142     Filed 08/08/18     Page 2 of 6
                                                                  Case No.: 8:17-bk-06108-CPM


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 8, 2018, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF.

       I also certify that the foregoing document is being served this day, either via transmission

of Notice of Electronic Filing generated by CM/ECF or by first class U.S. Mail, upon all interested

parties on the attached mailing matrix.



       Dated this 8th day of August, 2018.
                                                     Respectfully submitted,

                                                     GHIDOTTI ǀ BERGER, LLP
                                                     Attorneys for Secured Creditor
                                                     3050 Biscayne Blvd. - Suite 402
                                                     Miami, Florida 33137
                                                     Telephone: (305) 501.2808
                                                     Facsimile: (954) 780.5578

                                                     By:    /s/ Chase A. Berger
                                                            Chase A. Berger, Esq.
                                                            Florida Bar No. 083794
                                                            cberger@ghidottiberger.com
Label Matrix for local noticingCase 3:18-bk-00800-JAF
                                              Avail 2 LLC Doc 142 Filed 08/08/18              Page   3 of 6Services, as Servicing Agent f
                                                                                               BSI Financial
113A-3                                        c/o Kelley & Fulton, P.L.                        Ghidotti Berger, LLP
Case 3:18-bk-00800-JAF                        1665 Palm Beach Lakes Blvd.                      c/o Chase A. Berger, Esq.
Middle District of Florida                    The Forum - Suite 1000                           3050 Biscayne Blvd. - Suite 402
Jacksonville                                  West Palm Beach, FL 33401-2109                   3050 Biscayne Blvd. - Suite 402
Fri Aug 3 15:54:09 EDT 2018                                                                    Miami, FL 33137-4143
DEUTSCHE BANK NATIONAL TRUST COMPANY          Deutsche Bank National Trust Company, as Tru     GEA Seaside Investment Inc.
SHD Legal Group P.A.                          Robertson, Anschutz & Schneid, P.L.              428 North Peninsula Drive
PO Box 19519                                  6409 Congress Ave., Suite 100                    Daytona Beach, FL 32118-4038
Fort Lauderdale, FL 33318-0519                Boca Raton, FL 33487-2853


Goshen Mortgage LLC, as separate trustee of    HSBC Bank USA, National Association             HSBC Bank USA, National Association, As Trus
c/o South Milhausen, P.A.                      Robertson, Anschutz & Schneid, P.L.             Robertson, Anschutz & Schneid, P.L.
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PNC Bank, N.A.                                 Riverside Condominium Association, Inc.         SN Servicing Corporation, as Servicing Agent
c/o O’Kelley & Sorohan, LLC                    Frank, Weinberg & Black, P.L.                   Ghidotti Berger, LLP
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Robertson, Anschutz & Schneid, P.L.            Robertson, Anschutz & Schneid, P.L.             SHD Legal Group P.A.
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U.S. Bank National Association                 US Bank National Association                    United States Trustee - JAX 11 11
Robertson, Anschutz & Schneid, P. L.           Robertson, Anschutz & Schneid, P.L.             Office of the United States Trustee
6409 Congress Avenue, suite 100                6409 Congress Ave.suite # 100                   George C Young Federal Building
Boca Raton, FL 33487-2853                      Boca Raton, FL 33487-2853                       400 West Washington Street, Suite 1100
                                                                                               Orlando, FL 32801-2210

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123 W. Indiana Ave., Room 103                  SHD Legal Group P.A.                            c/o D.M. Hallisky, Esq.
DeLand, FL 32720-4615                          PO Box 19519                                    1834 Mason Ave., Suite 100
                                               Fort Lauderdale, FL 33318-0519                  Daytona Beach, FL 32117-5101


AnnElise and David Treder                      Avail 2 LLC                                     BSI FINANCIAL SERVICES, AS SERVICING AGENT F
c/o Hallisky & Davis                           c/o Kelley & Fulton, PL                         c/o Ghidotti Berger, LLP
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Deutsche Bank National Trust Co.               Deutsche Bank National Trust Company            Deutsche Bank National Trust Company
c/o Adam Diaz                                  Robertson, Anschutz & Schneid, P.L.             Select Portfolio Servicing, Inc
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Fort Lauderdale, FL 33318-0519
                               Case 3:18-bk-00800-JAF
Deutsche Bank National Trust Company, Tee fo                 Doc Inc.
                                              FCI Lender Services  142        Filed 08/08/18   Page   4 of 6
                                                                                                Fay Servicing
Ocwen Loan Servicing LLC                      P.O. Box 27370                                    P.O. Box 619063
1661 Worthington Road, Suite 100              Anaheim, CA 92809-0112                            Dallas, TX 75261-9063
West Palm Beach, FL 33409-6493


Fay Servicing, LLC, as servicer for            Florida Community Bank, N.A.                     Florida Department of Revenue
Goshen Mortgage, LLC                           c/o Kelley & Fulton, P.L.                        Bankruptcy Unit
c/o J. Anthony Van Ness, Esq.                  1665 Palm Beach Lakes Blvd, Suite 1000           Post Office Box 6668
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Deerfield Beach, FL 33442-7711

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                                               Orlando, FL 32801-1005

Goshen Mortgage, LLC                           HSBC BANK USA, NATIONAL ASSOCIATION TRUSTEE      HSBC BANK USA, NATIONAL ASSOCIATION Trustee
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EXL Legal, PLLC                                1661 Worthington Road, Ste 100                   1661 Worthington Road, Suite 100
12425 28th St. North, Ste. 200                 West Palm Beach, FL 33409-6493                   West Palm Beach, FL 33409-6493
St. Petersburg, FL 33716-1826

HSBC BANK USA, NATIONAL ASSOCIATION, AS TRUS   HSBC Bank USA, National Association              HSBC Bank USA, National Association, as Trus
Ocwen Loan Servicing, LLC                      c/o Robertson, Anschutz & Schneid, P.L.          for ACE Securities Corp. Home Equity Loa
Attn: Cashiering Department                    6409 Congress Avenue, Ste 100                    Series 2006-OP1
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Internal Revenue Service                       Iris Oswald                                      Jill E. Kelso
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                                               Daytona Beach, FL 32117-5101                     Orlando, FL 32801-2440


Mary and Paul Savard                           Mr. Cooper                                       Ocwen Loan Servicing LLC
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Office of the United States Trustee            PNC BANK, N.A.                                   Pooler, Coffey, Anderson
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                                               Maitland, FL 32751-7058

Riverside Condominium Association, Inc.        Robertson, Anschutz & Schneid, P.L.              SN Servicing Corp. as Servicing Agent
c/o Frank, Weinberg & Black, P.L.              Bankruptcy Department                            for U.S. Bank Trust N.A.
David Neal Stern, Esq.                         6409 Congress Ave., Suite 100                    c/o Ghidotti Berger, LLP
1875 NW Corporate Boulevard, Suite 100         Boca Raton, FL 33487-2853                        3050 Biscayne Blvd., Suite 402
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P.O. Box 65250                                 Eureka, CA 95501-0305                            1661 Worthington Road, Ste 100
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Tammy Cruz                   Case 3:18-bk-00800-JAF
                                            Tiffany & SteveDoc    142 Filed 08/08/18
                                                             Butler                                     Page   5 ofNATIONAL
                                                                                                         U.S. BANK   6      ASSOCIATION
c/o Hallisky & Davis                        844 BERKSHIRE RD                                              Select Portfolio Servicing, Inc.
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Daytona Beach, FL 32117-5101                                                                              Salt Lake City, UT 84165-0250


U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE F         U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE F         U.S. Bank National Association
Attn: Cashiering Department                          Ocwen Loan Servicing, LLC                            C/O Jeffrey S. Fraser, Esq.
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                                                     West Palm Beach, FL 33409-6493

U.S. Bank National Association, as Trustee           U.S. Bank, National Association                      US Department of Justice
c/o Wells Fargo Bank, N.A., as Servicer              c/o Adam Diaz                                        P.O. Box 530202
Default Document Processing                          SHD Legal Group, P.A.                                Atlanta, GA 30353-0202
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Eagan, MN 55121-7700
Volusia County Tax Collector                         Wells Fargo Bank, N.A.                               Wells Fargo Home Mortgage
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Deland FL 32720-4615                                 Suite 1700 West Tower
                                                     West Palm Beach, FL 33401-6161

Wilmington Trust, NA                                 Wilmington Trust, NA                                 pamela hunt
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Daytona Beach, FL 32117-5101                                                                              Jacksonville, FL 32210-2078


Taylor J King
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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Fay Servicing, LLC                                (u)Brian pooler, Renea Coffey and Reba Anders        (d)Deutsche Bank National Trust Company
                                                     c/o Hallisky & Davis                                 Select Portfolio Servicing, Inc
                                                     1834 Mason Avenue, Daytona Beach, Florid             P.O. Box 65250
                                                                                                          Salt Lake City, UT 84165-0250


(d)HSBC Bank USA, National Association               (u)Riverside Condominium Association, Inc.           (d)THE BANK OF NEW YORK MELLON TRUST COMPANY
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(u)Treder, AnnElise   Case 3:18-bk-00800-JAF       Doc 142
                                     (d)Wilmington Trust, NA       Filed 08/08/18   Page
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                                                                                               of 6Matrix
Treder, David                          Select Portfolio Servicing, Inc.              Mailable recipients    78
Oswald, Iris                           P.O. Box 65250                                Bypassed recipients     8
                                       Salt Lake City, UT 84165-0250                 Total                  86
